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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

NOTICE PURSUANT TO RULE 12.3, FEDERAL RULES OF CRIMINAL PROCEDURE

       Defendant Stephen K. Bannon, through his undersigned counsel, hereby gives notice,

pursuant to Rule 12.3 of the Federal Rules of Criminal Procedure, that he intends to assert

defenses of public authority in this case, including actual and apparent authority. Mr. Bannon

also intends to assert the defense of entrapment by estoppel.

       At all times since the receipt of the subpoena underlying the charges in this case, the

Defendant has acted in all regards with respect to that subpoena based upon (1) the authority of

former United States President Donald J. Trump, arising from his invocation of executive

privilege regarding Mr. Bannon and the subpoena and (2) the authority of the United States

Department of Justice (and its constituent parts and branches), reflected in directly relevant,

applicable, and legally binding, authoritative Opinions from the DOJ’s Office of Legal Counsel

and materials from other DOJ officials. Many of the relevant OLC Opinions and other DOJ

materials reflect official DOJ policy going back consistently over six decades. The official

materials include, but are not limited, to the written position of the former U.S. Attorney for the

District of Columbia. Mr. Bannon has at all relevant times acted in reliance on and in

conformity with all of the above. The official positions reflected therein prohibit his prosecution.
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Dated: April 15, 2022                      Respectfully submitted,

                                           SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                           Counsel for Defendant

                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 15th day of April 2022, a copy of the foregoing Rule

12.3 Notice was filed through the Court’s CM/ECF system and was served via electronic delivery

on counsel of record.

                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)
